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                   EXHIBIT 36
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     17
                               UNITED STATES DISTRICT COURT
     18          FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
     19          MASIMO CORPORATION,
                 a Delaware corporation; and                   CASE NO. 8:20-cv-00048-JVS (JDEx)
     20          CERCACOR LABORATORIES, INC.,
                 a Delaware corporation,                       DEFENDANT APPLE INC.’S FIFTH
     21                                                        SET OF REQUESTS FOR
                                      Plaintiffs,              PRODUCTION OF DOCUMENTS
     22                                                        AND THINGS TO PLAINTIFFS
                       v.                                      MASIMO CORPORATION AND
     23                                                        CERCACOR LABORATORIES, INC.
                 APPLE INC.,                                   (NOS. 104-109)
     24          a California corporation,
                                                              Hon. James V. Selna
     25                               Defendant.
                                                               Magistrate Judge John D. Early
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     27
     28
                                            APPLE INC.’S FIFTH SET OF REQUESTS FOR
Gibson, Dunn &
Crutcher LLP                PRODUCTION OF DOCUMENTS AND THINGS TO PLAINTIFFS MASIMO AND CERCACOR
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       1                 Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Rules
       2         26 and 34 of the Local Civil Rules of the United States District Court for the Central
       3         District of California, Defendant Apple Inc.(“Apple”) hereby serves its Fifth Set of
       4         Requests for Production of Documents and Things (“Requests”) to Plaintiffs
       5         Masimo Corporation (“Masimo”) and Cercacor Laboratories, Inc. (“Cercacor”)
       6         (collectively, “Plaintiffs”) in Civil Action No. 8:20-cv-00048-JVS (JDEx) to be
       7         responded to, in writing, within thirty (30) days of service hereof, and in accordance
       8         with the definitions and instructions below. These Requests are continuing in nature
       9         and responses thereto should be supplemented as required by Rule 26(e) of the
     10          Federal Rules of Civil Procedure.
     11                                          I.     DEFINITIONS
     12                  Notwithstanding any definition set forth below, each word, term, or phrase
     13          used in these Requests is intended to have the broadest meaning permitted under the
     14          Federal Rules of Civil Procedure and the Local Rules of the United States District
     15          Court for the Central District of California. In these Requests, the following terms
     16          are to be given their ascribed definitions.
     17                  1.      The term “Action” refers to Masimo Corporation et al. v. Apple Inc.,
     18          Civil Action No. 8:20-cv-00048-JVS (JDEx) (C.D. Cal.), commenced on January 9,
     19          2020.
     20                  2.      The term “Complaint” refers to the current operative complaint in
     21          the Action.
     22                  3.      The term “Masimo” refers to Masimo Corporation and its officers,
     23          directors,    current   and   former   employees,   counsel,   agents,   consultants,
     24          representatives, and any other Persons acting on behalf of any of the foregoing, and
     25          Masimo Corporation’s affiliates, parents, divisions, joint ventures, licensees,
     26          franchisees, assigns, predecessors and successors in interest, and any other legal
     27          entities, whether foreign or domestic, that are owned, partially owned, or controlled
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       1         by Masimo Corporation.
       2               4.       The term “Cercacor” refers to Cercacor Laboratories, Inc. and its
       3         officers, directors, current and former employees, counsel, agents, consultants,
       4         representatives, and any other Persons acting on behalf of any of the foregoing, and
       5         Cercacor Laboratories, Inc.’s affiliates, parents, divisions, joint ventures, licensees,
       6         franchisees, assigns, predecessors and successors in interest, and any other legal
       7         entities, whether foreign or domestic, that are owned, partially owned, or controlled
       8         by Cercacor Laboratories, Inc.
       9               5.       The terms “You,” “Your,” or “Plaintiffs,” refer to Masimo and
     10          Cercacor, jointly or individually.
     11                6.       The terms “Defendant” or “Apple” refer to Apple Inc.
     12                7.       The term “the ’265 patent” refers to U.S. Patent No. 10,258,265.
     13                8.       The term “the ’628 patent” refers to U.S. Patent No. 10,292,628.
     14                9.       The term “the ’553 patent” refers to U.S. Patent No. 10,588,553.
     15                10.      The term “the ’554 patent” refers to U.S. Patent No. 10,588,554.
     16                11.      The term “the ’564 patent” refers to U.S. Patent No. 10,624,564,
     17                12.      The term “the ’765 patent” refers to U.S. Patent No. 10,631,765,
     18                13.      The term “the ’194 patent” refers to U.S. Patent No. 10,702,194,
     19                14.      The term “the ’195 patent” refers to U.S. Patent No. 10,702,195,
     20                15.      The term “the ’366 patent” refers to U.S. Patent No. 10,709,366,
     21                16.      The term “the ’994 patent” refers to U.S. Patent No. 6,771,994.
     22                17.      The term “the ’703 patent” refers to U.S. Patent No. 8,457,703.
     23                18.      The term “the ’776 patent” refers to U.S. Patent No. 10,433,776.
     24                19.      The terms “Asserted Patent” or “Asserted Patents” or “Patents-
     25          in-Suit” refer to the ’265, the ’628, the ’553, the ’554, the ’564, the ’765, the ’194,
     26          the ’195, the ’366, the ’994, the ’703, and the ’776, collectively, as well as any
     27          applications for and/or counterparts to these patents, and any other patents that You
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Gibson, Dunn &
                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
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       1         may accuse Apple of infringing in this Action, and their applications and/or
       2         counterparts.
       3               20.       The term “Related Patents and Applications” refers to (i) all U.S.
       4         or foreign patents and patent applications related to the Asserted Patents or their
       5         applications by way of subject matter or claimed priority date, and (ii) any patent or
       6         patent application that claims priority to an Asserted Patent, or to which an Asserted
       7         Patent claims priority.
       8               21.       The terms “Asserted Claim” or “Asserted Claims” means the
       9         claims of the Asserted Patents that Plaintiffs contend Apple has infringed and/or is
     10          infringing.
     11                22.       The term “Asserted Technologies” refers to the alleged inventions
     12          claimed by the Asserted Claims.
     13                23.       The term “Apple Patents” refers to U.S. Patent Nos. 10,078,052,
     14          10,247,670, 9,952,095, 10,219,754, 9,723,997, and 10,524,671, collectively, as well
     15          as any applications for and/or counterparts to these patents, and any other of Apple’s
     16          patents for which Plaintiffs may bring claims of correction of inventorship in this
     17          Action, and their applications and/or counterparts.
     18                24.       The term “Apple Applications” refers to U.S. Patent Application
     19          Nos. 14/740,196, 16/114,003, 14/621,268, 14/617,422, 15/667,832, 16/700,710,
     20          14/618,664, and 15/960,507, and U.S. Provisional Patent Application Nos.
     21          62/043,294, 62/047,818, 62/056,299, and 62/057,089, collectively, and any
     22          counterparts thereof, and any other of Apple’s patent applications for which
     23          Plaintiffs may bring claims of ownership in this Action, and any counterparts
     24          thereof.
     25                25.       The term “Alleged Inventors” refers to Messrs. Al-Ali, Diab, and
     26          Weber, as described in paragraphs 22, 245, 252, 259, 266, 273, 280, 287, 295, 303,
     27          311, 319, and/or 327 of the Second Amended Complaint, collectively, and any other
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                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
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       1         individuals who Plaintiffs may contend in this Action should be named as inventors
       2         on the Apple Patents and Apple Applications.
       3               26.      The terms “Trade Secret” or “Trade Secrets” means the
       4         information identified in Plaintiffs’ Section 2019.210 Statement and alleged in the
       5         Second Amended Complaint, including without limitation information allegedly
       6         disclosed by Your former employees, information allegedly disclosed in Apple
       7         Patents or Apple Applications, or information allegedly incorporated in the Accused
       8         Products, as alleged trade secrets and any other trade secret that Plaintiffs allege
       9         Apple misappropriated. In referring to any information alleged in the Second
     10          Amended Complaint and in Plaintiffs’ Section 2019.210 Statement as a “Trade
     11          Secret,” Apple in no way communicates its agreement that the information
     12          constitutes a trade secret, or that the allegations in the Second Amended Complaint
     13          and in Plaintiffs’ Section 2019.210 Statement concerning the purported “Trade
     14          Secrets” satisfy Plaintiffs’ obligations under California Code of Civil Procedure
     15          Section 2019.210 to describe their alleged trade secrets with reasonable particularity.
     16                27.      The term “Accused Products” refers to the Apple Watch Series 3
     17          and later devices, alone or in combination with Apple iPhones, that Plaintiffs assert
     18          infringe any of the Asserted Patents, and any other products that Plaintiffs are
     19          permitted to accuse of infringing any of the Asserted Patents in this Action. In
     20          referring to any product as an “Accused Product,” Apple in no way communicates
     21          its agreement that the product infringes the Asserted Patents.
     22                28.      The term “Prior art” refers to all inventions, patents, publications,
     23          products, disclosures, or events falling within any of the categories set forth in 35
     24          U.S.C. §§ 102 and 103 with respect to the Asserted Patents.
     25                29.      The term “Licensee” refers to any entity having a license,
     26          assignment, covenant not to sue, or other understanding, written, oral or implied,
     27          that the entity has any rights to the Asserted Patents or Related Patents, may practice
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Gibson, Dunn &
                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
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       1         one or more claims of the Asserted Patent and/or that Plaintiffs will not file suit or
       2         otherwise enforce against that entity one or more claims of the Asserted Patent or
       3         Related Patents and Applications.
       4               30.      The terms “Person” or “Persons” shall mean any natural person, or
       5         any business, legal or governmental entity or association.
       6               31.      The term “Communication” shall mean every manner of disclosure,
       7         transfer, or exchange of information whether person-to-person, in a group, orally, in
       8         writing, by telephone, by electronic transmission, or otherwise.
       9               32.      The terms “Document” or “Documents” is used in the most
     10          comprehensive and broadest sense permitted by the Federal Rules of Civil Procedure
     11          26 and 34, and specifically includes electronically stored information and every
     12          “writing” and “recording,” as those terms are defined in Rule 1001 of the Federal
     13          Rules of Evidence. A draft or non-identical copy is a separate Document within the
     14          meaning of this term.
     15                33.      The terms “Thing” or “Things” are used in the most comprehensive
     16          and inclusive sense permitted by the Federal Rules of Civil Procedure and includes,
     17          but is not limited to, prototypes, models, specimens, or other devices, and
     18          commercially manufactured items.
     19                34.      A Document, Thing, or Communication “relating to,” “related to,”
     20          “concerning,” or “regarding” a subject shall mean all Documents, Things, or
     21          Communications that directly or indirectly constitute, contain, embody, concern,
     22          evidence, show, comprise, reflect, identify, state, refer to, deal with, comment on,
     23          respond to, describe, involve, mention, discuss, record, support, negate, or are in any
     24          way pertinent to that subject.
     25                35.      The term “each” shall mean each and every.
     26                36.      The term “any” shall include the word “all,” and vice versa.
     27                37.      The terms “and,” “or,” and “and/or” shall be construed in the
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Gibson, Dunn &
                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
Crutcher LLP           PRODUCTION OF DOCUMENTS AND THINGS TO PLAINTIFFS MASIMO AND CERCACOR
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       1         conjunctive or the disjunctive, whichever makes the discovery request more
       2         inclusive so as to bring within the scope of the request all Documents that might
       3         otherwise be construed to be outside of its scope.
       4               38.      The present tense includes the past and future tenses. The singular
       5         includes the plural, and the plural includes the singular. Words in the masculine,
       6         feminine or neutral form shall include all of the other genders.
       7               39.      The use of the term “the” shall not be construed as limiting the scope
       8         of any Request.
       9               40.      References to employees, officers, directors, or agents shall include
     10          both current and former employees, officers, directors, and agents.
     11                                             II. INSTRUCTIONS
     12                1.       All requests must be responded to fully and in writing in accordance
     13          with Fed. R. Civ. P. 34.
     14                2.       You are to produce all requested Documents, Communications, and
     15          Things that are in Your custody, control, or possession, or within the custody, control
     16          or possession of Your attorneys, accountants, agents, consultants, investigators,
     17          other representatives, affiliates, employees, and/or any other entities or individuals
     18          acting on Your behalf or on whose behalf You are acting.                A Document,
     19          Communication, or Thing not in Your physical custody is nonetheless deemed to be
     20          in Your possession, custody, or control if You (i) own such Document,
     21          Communication, or Thing in whole or in part, (ii) have a right by contract, statute or
     22          otherwise, to use, examine, or copy such Document, Communication, or Thing on
     23          any terms, (iii) have an understanding, express or implied, that You may use, inspect,
     24          examine, or copy such Document, Communication, or Thing on any terms, or (iv)
     25          have, as a practical matter, been able to use, inspect, examine, or copy such
     26          Document, Communication, or Thing when You have sought to do so. In the event
     27          that You cannot produce any of the Documents, Communications, or Things
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       1         designated in a particular request, You shall produce those Documents,
       2         Communications, or Things which You can produce, and shall describe in detail
       3         each reason for Your failure or inability to produce each of the remaining
       4         Documents, Communications, or Things.
       5               3.       If Your response to a Request is that Documents, Communications,
       6         and Things are not in Your possession, custody, or control, describe in detail the
       7         efforts You have made to locate the Documents, Communications, and Things, and
       8         identify who has possession, custody, or control of them.
       9               4.       If any Request calls for the production of                  Documents,
     10          Communications, and Things that have been lost, discarded, or destroyed, You shall
     11          state the circumstances of the loss or destruction of each such Document,
     12          Communication, or Thing, including the identity of Person(s) having knowledge as
     13          to the circumstances of its loss or destruction and the date of its loss or destruction.
     14                5.       These Requests call for the production of all original Documents, all
     15          non-identical copies of such Documents, any preliminary drafts thereof, including
     16          all transmittal sheets, cover letters, exhibits, enclosures, or attachments to such
     17          Documents. Unless otherwise agreed in writing, each non-identical version of any
     18          Document, Communication, or Thing shall constitute a separate Document,
     19          Communication, or Thing. Each draft or version of any Document, Communication,
     20          or Thing also shall constitute a separate Document, Communication, or Thing.
     21                6.       Email attachments and embedded files must be mapped to their parent
     22          by the Document or by production number. If attachments and embedded files are
     23          combined with their parent Documents, then “BeginAttach” and “EndAttach” fields
     24          listing the unique beginning and end number for each attachment or embedded
     25          Document must be included.
     26                7.       If, for any reason other than a claim of privilege, You refuse to
     27          respond to any Request herein, please state the grounds upon which such refusal is
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                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
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       1         based with sufficient particularity to permit a determination of the propriety of such
       2         refusal.
       3               8.        If You withhold any Document or Communication, or any portion of
       4         any Document or Communication, under a claim of confidentiality, privilege, or any
       5         other protection from production including, but not limited to, attorney work product
       6         or attorney-client privilege, You shall produce, in accordance with Rule 26 of the
       7         Federal Rules, a written privilege log that sets forth: (i) the author(s) and sender(s)
       8         of the Document or Communication; (ii) the type of Document or Communication,
       9         e.g., letter or memorandum; (iii) the dates associated with the Document or
     10          Communication (the date it bears, the date it was sent, and the date it was received);
     11          (iv) all recipients of the Document or Communication; (v) the number of pages of
     12          the Document or Communication; (vi) the identity of each person who has custody
     13          or control over the Document or Communication and each copy thereof; (vii) such
     14          other information as is sufficient to identify the Document or Communication; and
     15          (viii) the nature of the privilege asserted.
     16                9.        If information is redacted from a Document or Communication
     17          produced in response to a Request, You shall identify the redaction by stamping the
     18          word “Redacted” on the Document at each place where information has been
     19          redacted and separately log each redaction on the privilege log.
     20                10.       No specific Request should be construed to limit the scope of any
     21          other Request, or of any term defined herein, and no subpart of any Request should
     22          be construed to limit the scope of any other subpart of such Request.
     23                11.       Whenever You object to a particular Request or portion thereof, You
     24          must produce all Documents, Communications, and Things called for that are not
     25          subject to that objection. Similarly, whenever a Document, Communication, or
     26          Thing is not produced in full, You must state with particularity the reason or reasons
     27          it is not being produced in full, and describe, to the best of Your knowledge,
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Gibson, Dunn &
                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
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       1         information, and belief those portions of the Document, Communication, or Thing
       2         that are not produced. If you object to a particular Request or portion thereof, You
       3         must also (i) identify with particularity any Document, Communication, or Thing
       4         falling within any category or item in the Request to which an objection is made,
       5         and (ii) set forth clearly the extent of, and the specific ground for, the objection.
       6               12.       Documents, Communications, and Things shall be produced in the
       7         same order as they are kept in the usual course of business and shall not be shuffled
       8         or otherwise rearranged.      Documents and Communications that were, in their
       9         original condition, stapled, clipped, contained in file folders or binders, or otherwise
     10          fastened together shall be produced in such form. Whenever it is reasonably
     11          practicable, please produce Documents, Communications, and Things in such a
     12          manner as will facilitate their identification with the particular Request or category
     13          of Requests to which they are responsive.
     14                13.       All Documents requested herein must be produced in their entirety,
     15          with all attachments and enclosures, regardless of whether You consider the
     16          attachment and enclosures to be relevant or responsive to the request.
     17                14.       Documents in electronic form, including, but not limited to, e-mail
     18          shall be produced electronically in a form to be agreed upon by the parties, replete
     19          with agreed upon metadata.
     20                15.       If there are no Documents, Communications, or Things responsive to
     21          a particular Request, You shall so state in writing.
     22                16.       Unless otherwise stated, each Request is directed towards each
     23          Plaintiff in this Action.
     24                17.       If, in responding to these Requests, You encounter any ambiguities
     25          when construing a Request, instruction, or definition, in Your response set forth the
     26          matter deemed ambiguous and the construction used in answering.
     27                18.       These Requests are continuing in nature, and require prompt and
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Gibson, Dunn &
                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
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       1         further supplemental production if You obtain additional responsive information.
       2               19.      Apple serves these Requests without prejudice to its right to serve
       3         additional requests for production in this Action.
       4               20.      Each of the foregoing Definitions and Instructions is hereby
       5         incorporated by reference into, and shall be deemed a part of, each Request.
       6                             III.   REQUESTS FOR PRODUCTION
       7         REQUEST FOR PRODUCTION NO. 104:
       8               All documents and things relating to the research, design, and/or
       9         development of Plaintiffs’ alleged wrist worn monitor that performs pulse
     10          oximetry and/or any component of Plaintiffs’ alleged wrist worn monitor that
     11          performs pulse oximetry, including, without limitation, laboratory notebooks,
     12          invention disclosures, memoranda, product specifications, conceptual or technical
     13          drawings, schematics, diagrams, technical specifications, meeting minutes,
     14          presentations, and prototypes.
     15          REQUEST FOR PRODUCTION NO. 105:
     16                All documents and things related to the decisions to research, design, and/or
     17          develop Plaintiffs’ alleged wrist worn monitor that performs pulse oximetry and/or
     18          any component of Plaintiffs’ alleged wrist worn monitor that performs pulse
     19          oximetry.
     20          REQUEST FOR PRODUCTION NO. 106:
     21                All documents and things relating to the function of Plaintiffs’ alleged wrist
     22          worn monitor that performs pulse oximetry and/or any component of Plaintiffs’
     23          alleged wrist worn monitor that performs pulse oximetry.
     24          REQUEST FOR PRODUCTION NO. 107:
     25                An inspection of Plaintiffs’ alleged wrist worn monitor that performs pulse
     26          oximetry, including without limitation, prior versions and prototypes.
     27          REQUEST FOR PRODUCTION NO. 108:
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       1               All documents and things relating to all efforts to market Plaintiffs’ alleged
       2         wrist worn monitor that performs pulse oximetry to consumers. For avoidance of
       3         doubt, this includes documents and things related to efforts to advertise and sell
       4         said wrist worn monitor that performs pulse oximetry to consumers.
       5         REQUEST FOR PRODUCTION NO. 109:
       6               All documents and things relating to sales projections for Plaintiffs’ alleged
       7         wrist worn monitor that performs pulse oximetry.
       8
       9         Dated: November 12, 2020               Respectfully submitted,
     10                                                 JOSHUA H. LERNER
                                                        H. MARK LYON
     11                                                 BRIAN M. BUROKER
                                                        BRIAN A. ROSENTHAL
     12                                                 ILISSA SAMPLIN
                                                        ANGELIQUE KAOUNIS
     13                                                 BRIAN K. ANDREA
                                                        GIBSON, DUNN & CRUTCHER LLP
     14
     15
                                                        By: /s/Joshua H. Lerner
     16                                                     Joshua H. Lerner
     17
                                                        Attorneys for Defendant Apple Inc.
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Gibson, Dunn &
                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
Crutcher LLP           PRODUCTION OF DOCUMENTS AND THINGS TO PLAINTIFFS MASIMO AND CERCACOR
                                         CASE NO. 8:20-CV-00048-JVS (JDEX)                            Exhibit 36
                                                                                                        Page 12
            Case 8:20-cv-00048-JVS-JDE Document 744-38 Filed 05/25/22 Page 14 of 14 Page ID
                                              #:52163

       1                                  CERTIFICATE OF SERVICE
       2
                       I am a citizen of the United States of America and I am employed in Irvine,
       3
                 California. I am over the age of 18 and not a party to the within action.
       4
                       On November 12, 2020, I served a true and correct copy of the foregoing
       5
                 DEFENDANT         APPLE      INC.’S     FIFTH     SET     OF    REQUESTS       FOR
       6
                 PRODUCTION OF DOCUMENTS AND THINGS TO PLAINTIFFS
       7
                 MASIMO CORPORATION AND CERCACOR LABORATORIES, INC.
       8
                 (NOS. 104-109) on the parties or their counsel shown at the email addresses shown
       9
                 below:
     10                               KNOBBE, MARTENS, OLSON & BEAR, LLP
     11                                             Joseph R. Re
                                               joseph.re@knobbe.com
     12                                           Stephen C. Jensen
     13                                      steve.jensen@knobbe.com
                                                  Perry D. Oldham
     14                                      perry.oldham@knobbe.com
     15                                          Stephen W. Larson
                                            stephen.larson@knobbe.com
     16                                            Adam B. Powell
     17                                      adam.powell@knobbe.com
                                                    Mark Kachner
     18                                     mark.kachner@knobbe.com
     19
                       I certify and declare under penalty of perjury under the laws of the State of
     20          California that I am employed in the office of a member of the bar of this Court at
     21          whose direction the service was made, and that the forgoing is true and correct.
     22
     23          Executed on November 12, 2020, at Irvine, California.
     24
     25                                                 By: /s/ Tracy Morgan
                                                            Tracy Morgan
     26
     27
     28
                                                          12
Gibson, Dunn &
                                       APPLE INC.’S FIFTH SET OF REQUESTS FOR
Crutcher LLP           PRODUCTION OF DOCUMENTS AND THINGS TO PLAINTIFFS MASIMO AND CERCACOR
                                         CASE NO. 8:20-CV-00048-JVS (JDEX)                        Exhibit 36
                                                                                                    Page 13
